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Case: 2:23-mj-00659-EPD Doc #: 1-1 Filed: 11/27/23 Page: 4 of 21 PAGEID #: 5
Case: 2:23-mj-00659-EPD Doc #: 1-1 Filed: 11/27/23 Page: 5 of 21 PAGEID #: 6
Case: 2:23-mj-00659-EPD Doc #: 1-1 Filed: 11/27/23 Page: 6 of 21 PAGEID #: 7
Case: 2:23-mj-00659-EPD Doc #: 1-1 Filed: 11/27/23 Page: 7 of 21 PAGEID #: 8
Case: 2:23-mj-00659-EPD Doc #: 1-1 Filed: 11/27/23 Page: 8 of 21 PAGEID #: 9
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